 Case 2:09-cr-20133-JWL         Document 1493       Filed 04/25/12     Page 1 of 4




                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,              )
                                       )
                 Plaintiff,            )
                                       )
      v.                               )                  Case No. 09-20133-05-JWL
                                       )
RADELL BRADFORD,                       )
                                       )
                 Defendant.            )
                                       )
_______________________________________)


                          MEMORANDUM AND ORDER

       This matter is presently before the Court on defendant’s motion for modification

of her sentence (Doc. # 1400). The motion is denied.

       On March 23, 2011, defendant pleaded guilty to one count of conspiracy to

commit money laundering in violation of 18 U.S.C. § 1956(h), pursuant to a plea

agreement under Fed. R. Crim. P. 11(c)(1)(C) that provided for a sentencing range of 87

to 108 months’ imprisonment. On July 19, 2011, the Court sentenced defendant to a

term of imprisonment of 98 months.         The Court determined that the applicable

sentencing guideline range was 108 to 135 months, but that a term of 98 months was

nevertheless appropriate in light of the plea agreement and the Court’s determination that

defendant’s role was more important than others in the conspiracy but that her criminal

history was over-represented by the applicable range.

       Defendant now seeks modification of her sentence pursuant to 18 U.S.C. §
 Case 2:09-cr-20133-JWL         Document 1493       Filed 04/25/12     Page 2 of 4




3582(c)(2), which provides the following exception to the general rule prohibiting a

court’s modification of a term of imprisonment:

       in the case of a defendant who has been sentenced to a term of
       imprisonment based on a sentencing range that has subsequently been
       lowered by the Sentencing Commission pursuant to 28 U.S.C. 944(o),
       upon motion of the defendant or the Director of the Bureau of Prisons, or
       on its own motion, the court may reduce the term of imprisonment, after
       considering the factors set forth in section 3553(a) to the extent that they
       are applicable, if such a reduction is consistent with applicable policy
       statements issued by the Sentencing Commission.

Id. In support of her motion, defendant cites Freeman v. United States, 131 S. Ct. 2685

(2011). In that case, the Supreme Court held that a sentence could still be based on a

sentencing guideline range and modified under Section 3582(c)(2) even if the defendant

pleaded guilty pursuant to a Rule 11(c)(1)(C) plea agreement. See Freeman, 131 S. Ct.

2685. Freeman does not help defendant in this case, however, because defendant’s

sentence was not based on a guideline range that was subsequently lowered by the

Sentencing Commission. Thus, whether or not it followed a Rule 11(c)(1)(C) plea,

defendant’s sentence does not satisfy the express requirements of Section 3582(c)(2),

and her sentence cannot be modified under that provision.

       In her motion, defendant also seeks modification based on her argument that the

Court imposed a lengthy term of imprisonment to allow for her participation in the

Bureau of Prisons’s Residential Drug Abuse Program (RDAP), for which she ultimately

proved ineligible. Defendant cites Tapia v. United States, 131 S. Ct. 2382 (2011), in

which the Supreme Court held that a court could not impose or lengthen a term of


                                            2
 Case 2:09-cr-20133-JWL         Document 1493        Filed 04/25/12     Page 3 of 4




imprisonment in order to allow for a particular treatment in prison or to promote

rehabilitation. See id. Defendant also cites United States v. Kubeczko, 660 F.3d 260 (7th

Cir. 2011), in which the Seventh Circuit relied on Tapia in vacating a sentence above the

guideline that the district court imposed to allow for completion of a particular treatment

program. See id. Again, however, the cited precedents do not apply to the facts of

defendant’s case. The Court did not set the length of defendant’s term of imprisonment

in order to allow for a particular treatment or to promote rehabilitation. As noted above,

the 98-month term was actually below the applicable guideline range and was based on

the plea agreement range and the other factors noted by the Court concerning her role

in the offense and her criminal history score. In fact, in the Court’s statement of reasons

for imposing a sentence outside the guidelines, certain listed reasons were checked, but

the box for “provid[ing] the defendant with . . . correctional treatment” was left

unchecked. Defendant has not supplied any evidence that the Court imposed a particular

term of imprisonment to allow for certain treatment or to promote rehabilitation, and in

fact the Court did not set her term of imprisonment in that fashion. Thus, defendant is

not entitled to relief under Tapia.

       For these reasons, defendant is not entitled to modification of her sentence, and

her motion is denied.1


       1
       In her reply brief, defendant stated that she did not receive a copy of the
Government’s response to her motion, and she argued that she should be granted relief
based on the Government’s failure to comply with the Court’s order setting a response
                                                                             (continued...)

                                            3
 Case 2:09-cr-20133-JWL         Document 1493        Filed 04/25/12     Page 4 of 4




       IT IS THEREFORE ORDERED BY THE COURT THAT defendant’s motion

for modification of her sentence (Doc. # 1400) is denied.


       IT IS SO ORDERED.


       Dated this 25th day of April, 2012, in Kansas City, Kansas.


                                                   s/ John W. Lungstrum ___________
                                                   John W. Lungstrum
                                                   United States District Judge




       1
        (...continued)
deadline. Defendant subsequently filed a supplemental reply brief, in which she stated
that she did not receive the Government’s response until a month after the deadline for
that brief, and argued that the response should be rejected as untimely. The Government
did file a response with the Court prior to the deadline, however, and that brief will
therefore be considered. Moreover, defendant has not suffered any prejudice from the
delay in her receipt of the response because the Court has considered her supplemental
reply brief, and because it is apparent from the face of defendant’s motion that she is not
entitled to relief.

                                            4
